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A09l (Revr ll/ll) Criminai Complaint

UNITED STATES DISTRICT COURT 13 25 s ia 0

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District of New Mexico

United States of America
v.

CaseNo.| /g_ /z_//§MJ

Suzanne Reyno|ds

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of N|arch 1l 2018 - March 6, 2018 in the county of Dol’ia Ana in the

 

Judicia| District of New Mexico , the defendant(s) violated:

Code Section Ojj%nse Description
21 U.S.C. § 846: Conspiracy to distribute cocaine

18 U.S.C. § 1956(h): lnternational Nloney Laundering Conspiracy

This criminal complaint is based on these facts:

See attached statement of probable cause, attached and incorporated by reference herein.

d Continued on the attached sheet.

 

Comp[ac`nanl' ’s signature

A||an Russo, DEA Specia| Agent

Prim‘ed name and title

 

Sworn to before me and signed in my presencel

Date: "i}`Z-l-"L~Dl@ ~&MA-g;€m

W.Juage s signature

(jity and State; Las Cruces, New N|exico Kevin R. Sweazea, U.S.Magistrate Judge
Prr`nted name and title

 

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United States of America
v.
Suzanne Reynolds

Attachment to Criminal Complaint

I, Allan Russo, Affiant, being duly sworn, state that the following information is true and correct
to the best of my knowledge and belief:

Between April 2017, and April 25, 2018, DEA and HSI agents were investigating a large-scale
heroin and cocaine trafficking organization that was operating in southern New Mexico, west
Texas and as far east as Tennessec and South Carolina. The investigation involved the court-
authorized wiretap of il different telephones

On February 20, 2018, pursuant to a wiretap Order signed by U.S. District Judge Robert C.
Brack, agents began intercepting wire and electronic communications to and from a telephone
(“Gonzales’ Phone”) used by Fidel Gonzales (“Gonzales”). Based on intercepted
communications to and from Gonzales’ Phone, as well as surveillance, agents believe that on
March 2, 2018, and March 6, 2018, Suzanne Reynolds (“Reynolds”) transported illegal drugs
and drug proceeds on behalf of Gonzales.

On March 1, 2018, at approximately 9:28 a.m., agents intercepted a phone call, over Gonzales’
Phone, between Gonzales and Barbara Michel (“Michel”). I believe that Michel, on behalf of a
Mexican-based source of supply identified only as “Tr`o,” operated a stash house in El Paso, TX,
and that Gonzales was just one of many distributors receiving illegal drugs from Michel. l also
believe that Michel, at the direction of “Tio,” obtained drug proceeds from Gonzales and other
local drug distributors, and that Michel sent the drug proceeds to “Tz`o” in Mexico. During the
call, Gonzales told Michel that Gonzales was still “collecting” and that Gonzales would “send
them” tomorrow. Based on my training, experience, and knowledge of the investigation, I
believe that Gonzales was telling Michel that Gonzales was collecting drug proceeds to send to
Michel on March 2, 2018. During this call, I believe that Gonzales also asked if the illegal drugs
would be ready for pickup so that Gonzales and/or his courier could pick up the illegal drugs at
the same time the drug proceeds were being delivered

On March 2, 2018, at approximately 10:42 a.rn., agents intercepted a call, over Gonz.ales’ Phone,
between Michel and Gonzales. During the call, 1 believe Gonzales asked if “T 1'0” had delivered
narcotics for Gonzales, and Michel affirmed Gonzales then stated that he was on his way to
Michel’s residence

At approximately 12:25 p.m., on March 2, 2018, agents observed a blue Ford Mustang,
registered to Suzanne Reynolds, arrive at Michel’s residence located at 1578 Rebecca Ann Drive
in El Paso, TX. Agents observed Reynolds as the driver of the Mustang and Fidel Ortiz
(“Ortiz”) as the front passenger. A few minutes after the Mustang arrived, agents observed Ortiz
exit the passenger seat of the vehicle and enter Michel’s residence through the garage door.

At approximately 12:31 p.m., on March 2, 2018, agents intercepted an incoming call from Ottiz
to Gonzales over Gonzaies’ Phone. During the call, agents believe Ortiz told Gonzales that the

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total amount of money delivered was only approximately $14,000. Gonzales negated, and Ortiz
stated, “Yes, because all the other bundles that [STUTTERS] is ten, and then the. .. the hundred
dollar bills there’s only four, four thousand.” Ortiz then asked Gonzales if Gonzales had spoken
to “Tl`o.” After Gonzales negated, Ortiz handed the phone over to Michel. Michel told Gonzales
She had already told “Tl`o” that Gonzales had “sen_t fifteen (15),” which l believe to be $15,000 in
drug proceeds. Michel further told Gonzales that because he was short “eleven, sixty (1160),”
Gonzales needed to bring her $1,160 the next day. Michel also told Gonzales to tell “him,”
believed to be “Tio,” that Gonzales was short $l,l60. Gonzales agreed In the background,
Oitiz asked Michel if Ortiz is taking anything, and Michel stated that she was “getting it for”
Ortiz. Michel also told Gonzales, “Yeah, I’ll give him whatever Tio left you here.” I believe
Michel was telling Gonzales that she would give Ortiz the narcotics that Gonzales and “Tio” had
previously discussed

At approximately 12:42 p.m., on March 2, 2013, agents observed Ortiz exit the garage with his
hands in his jacket as he Walked to the Ford Mustang. Agents then followed the Mustang from
Michel’s residence to Las Cruces, Nl\/i. The Mustang parked at the Walgreens parking lot
located across the street from Gonzales’ business, located at 2855 W. Picacho Ave., in Las
Cruces, NM. At approximately 2:14 p.m., agents observed Ortiz exit the Mustang and walk to
Gonzales’ business. During this time, agents could see Ortiz, with his jacket draped over his
right shoulder, carrying a plastic bag on his right hand

Based on intercepted communications and surveillance, I believe that on March 2, 2018, Ortiz
and Reynolds delivered approximately $13,840 in drug proceeds to Michel in El Paso, TX. I
also believe that Ortiz and Reynolds obtained cocaine from Michel, and then delivered the
cocaine to Gonzales at his shop.

On March 5, 2018, at approximately 2:26 p.m., agents intercepted a call, over Gonzales’ Phone,
between Gonzales and “Tio.” During the call, Gonzales asked if “T 1'0” could send Gonzales
“one” on the following day. Gonzales also told “Tr‘o” that Gonzales had “twenty-frve” for “Tz`o.”
ln response, “Tio” agreed to send “one” to Gonzales. Gonzales then asked “Ti'o” what time
“Tia” would be going to work on March 6, 2018. Based on my knowledge of this investigation,
l believe that Gonzales was asking “Tio” for one kilogram of cocaine, and “Tio” agreed to give
Gonzales one kilogram of cocaine on March 6, 2018. I also believe that Gonzales told “Tio” that
Gonzales would be sending $25,000 in drug proceeds to Michel, whom Gonzales and others
refer to as “Tia,” on March 6, 2018.

At approximately S:l() p.m., on March 5, 2018, agents intercepted a call, over Gonzales’ Phone,
between Gonzales and Michel, in which Gonzales told Michel that Ortiz would be going to
Michel’s residence at 10:00 a.m. on March 6, 2018. Michel told Gonzales that Michel had
“something” for Gonz,ales. I believe that during this call, Gonzales was telling Michel that
Gonzales would be sending Ortiz to Michel’s to deliver the $25,000 in drug proceeds and to pick
up the kilogram of cocaine. When Michel told Gonzales that she had “something” for Gonzales,
l believe she was telling Gonzales that she had the kilogram of cocaine that “Tio” had sent to
Gonzales.

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Approximately five minutes later, at 8:15 p.rn. on March 5, 2018, agents intercepted a text
message from Gonzales to Brian Estrada (“Estrada”). l know that Estrada is a drug and drug
proceeds courier for Gonzales. The text message stated, “Tell u wife 2 take u 2 w0rk at 830 g0ta
b Out der b4 10am k.” In response, Estrada sent the following text message to Gonzales: “K Jus
told her. U Got tha mail truk bak." Gonzales replied, “N()t yet dnt take ur truck 2 w()rk Only blue
b 0n time f00.” Based on my training, experience, and knowledge of this investigation, I believe
that Gonzales was telling Estrada to have Reynolds, believed to be Estrada’s common-law wife,
bring Estrada to Gonzales’ business by 8:30 a.m. on March 6, 2018. l also believe that Gonzales
asked Estrada to bring Reynolds so that Reynolds could drive Ortiz to El Paso to drop off drug
proceeds at, and then pick up illegal drugs from, Michel’s residence l believe that Estrada told
Gonzales that Estrada had continued with Reynolds that she Would be available to make the
delivery. l also believe Estrada was asking Gonzales which vehicle Reynolds should use to
transport the drugs and drug proceeds, and Gonzales responded the blue Ford Mustang.

On March 6, 2018, at approximately 8: 13 a.m., agents observed Estrada enter the driver’s seat
and Reynolds enter the passenger seat of Reynold’s blue Ford Mustang. After Estrada and
Reynolds entered the Mustang, it departed 4258 Calle de Estrellas, Las Cruces, NM. At
approximately 8:36 a.m., the Mustang arrived at Gonzales’ business (Roadrunner Transport &
Diesel) located at 2855 W. Picacho Ave, Las Cruces. At approximately 8:40 a.m., agents
observed Reynolds enter the driver’s seat of the Mustang and Ortiz enter the passenger seat of
the Mustang before it departed the area.

At approximately 9:59 a.m., on March 6, 2018, agents intercepted a call between Gonzales and
Michel, in which Gonzales told Michel that Ortiz was outside Michel’s residence
Approxirnately one minute later, at 10:00 a.m., agents observed Reynold’s blue Mustang arrive
at Michel’s residence located at 1578 Rebecca Ann in El Paso, TX. At approximately 10:04
a.m., agents observed Ortiz exit the passenger seat of the Mustang and enter Michel’s residence
At approximately 101 12 am, agents observed Ortiz exit the residence and enter the blue Mustang.
Shortly thereafter, the blue Mustang departed the arca.

Based on intercepted communications and surveillance, I believe that on March 6, 2018, Ortiz
and Reynolds delivered approximately $25,000 in drug proceeds to Michel in El Paso, TX. l
also believe that Ortiz and Reynolds obtained cocaine from Michel.

On April 25, 2018, I approached Reynolds, advised her of her Mimnda rights and she agreed to
Speak with me. Reynolds admitted that she and OrtiZ had transported drug proceeds from Las
Cruces, NM, to El Paso, TX on behalf of Gonzales and Estrada three times during the past few
months. Reynolds admitted that she knew what she was transporting was drug proceeds and that
those proceeds were to be delivered to someone in Mexico. Reynolds stated that after she and
Ortiz delivered the drug proceeds, they also picked up cocaine from Michel in El Paso, TX, and
they eventually delivered the cocaine to Gonzales. Reynolds stated that she did not know how
much cocaine she and Ortiz transported but that they used her blue Mustang to transport it.
Reynolds stated that she was paid $300 each time she and Ortiz transported the cocaine and drug
proceeds for Gonzales.

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Assistant United States Attorneys Selesia L. Winston and Sarah M. Davenport were advised of
the facts of this investigation, and accepted prosecution »

  

 

Auan tamm "

Special Agent
Drug Enforcement Administration

Subscribed and sworn to before me on
this _;,12 ay 0prr11,2018.

MC,
Kevin R. Sweazea 0

United States Magistrate Judge

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